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JUL 14 2020
CLERK US DISTRICT COURT
DISTRICT OF NEVADA
UNITED STATES DISTRICT C ‘ RT DEPUTY
DISTRICT OF NEVADA
UNITED STATES OF AMERICA, Case No.: 2:12-cr-00363-JCM-GWF
Plaintiff,
vs. ORDER APPOINTING COUNSEL
TYSON LAMAR JONES,
Defendant.

 

 

 

The individual named below, having testified under oath or having otherwise satisfied this
Court that he/she: (1) is financially unable to employ counsel and (2) does not wish to waive
counsel, and, because the interests of justice so require, the Court finds that the individual is
indigent, therefore,

IT IS ORDERED that RICHARD A. WRIGHT, ESQ., is hereby appointed to represent
Defendant TYSON LAMAR JONES.

IT IS FURTHER ORDERED that an attorney appointed under the Criminal Justice Act
will be required to apply under Fed. R. Crim. P. 17(b) for the issuance of subpoenas, whether for
service within or outside of the District of Nevada. The cost of process, fees and expenses of
witnesses so subpoenaed shall be paid as witness(es) subpoenaed on behalf of the Government.
The Court is satisfied the individual is unable to pay fees and expenses of subpoenaed witness(es)
and the United States Marshal shall provide such witness(es) subpoenaed advance funds for the
purpose of travel within the District of Nevada and subsistence. Any subpoenas served on behalf

of the individual, the return thereon to this Court shall be sealed, unless otherwise ordered.

DATED: July 14, 2020.

NANCY JAKOPPE
UNITED ES MAGISTRATE JUDGE

 

 
